Case 1:20-cr-20266-PCH Document 85 Entered on FLSD Docket 04/28/2021 Page 1 of 4


                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                Case No: 20-cr-20266-PCH

UNITED STATES OF AMERICA,

v.

RODERICK MICHAEL FLOWERS,

       Defendant.
                                        /

                                     FACTUAL PROFFER

       Defendant, Roderick Michael Flowers (“Defendant”), his counsel, and the United States of

America agree that, had this case proceeded to trial, the United States would have proven the

following facts beyond a reasonable doubt:

       During the summer of 2020, a law enforcement confidential source (“CS”) met several times

with co-defendant Manny Hernandez to discuss activities related to narcotics trafficking and money

laundering. The CS presented himself as a cocaine broker and money launderer affiliated with the

Sinaloa Cartel. During those meetings, Hernandez explained to the CS that he had access to law

enforcement officers who could assist them. On August 18, 2020, the CS asked if Hernandez’s law

enforcement contact could help the CS by identifying a license plate belonging to a person that owed

the CS money. The CS provided Hernandez with the relevant license plate information. Hernandez

reached out to the Defendant, an officer with the Miami-Dade Police Department (“MDPD”). The

Defendant queried the license plate information in a law enforcement database, and then provided

that information back to Hernandez, who eventually provided it to the CS.

       On August 28, 2020, Hernandez told the CS he wanted to invest in a future load of cocaine.

The parties discussed prices and options, and Hernandez eventually settled on investing in a multi-

kilogram load of cocaine. During that same meeting, the CS asked if he could use Hernandez’s law

enforcement contacts to help escort the cocaine load. Hernandez said yes, but the CS would be


                                                                                  1036425\307964227.v1
Case 1:20-cr-20266-PCH Document 85 Entered on FLSD Docket 04/28/2021 Page 2 of 4


required to pay each cop $5,000, and Hernandez would need to be paid $10,000. Hernandez said that

he would set up a meeting with the cops.

       On September 9, 2020, the Defendant met with Hernandez, the CS, and an undercover officer

(“UC”) at Hernandez’s business in Davie, Florida. The meeting had been arranged by Hernandez.

During the meeting, the CS thanked the Defendant for running the license plate, which the Defendant

acknowledged. Then, the CS and the Defendant discussed how the Defendant could help the CS by

escorting the transport of the planned load of cocaine. The CS explained that the cocaine would be

called “white girls” as a code word. The CS told the Defendant that he wanted to move product from

one location to another, and that he needed an escort. The Defendant asked several questions

regarding the logistics of the transport, and suggested that he had a friend – later identified as MDPD

Officer Keith Edwards, Jr. – who could help with the cocaine escort. The Defendant explained that

both he and Edwards had SWAT training, and so they were qualified to do the cocaine escort. The

Defendant further explained that he and Edwards would help the CS create an alibi as to why he was

in the area in case something went bad during the cocaine escort. Towards the end of the meeting,

the CS provided $5,000 in cash, that was ultimately given to the Defendant at a subsequent meeting,

for agreeing to escort the cocaine load, and the parties decided to set up another meeting involving

Officer Edwards.

       On September 14, 2020, the CS and UC met with Hernandez, the Defendant, and Officer

Edwards. The meeting took place at Hernandez’s office in Davie, Florida. At the beginning of the

meeting, the CS asked if Edwards was a cop, and Edwards confirmed that he was. The CS then asked

whether the Defendant and Edwards were partners, and the Defendant confirmed that they were. The

CS asked the Defendant if Edwards knew everything, and Flowers responded yes, he did. The CS

then told Edwards that the code word for the cocaine would be “white girls,” which Edwards

acknowledged. The CS explained that he would need Edwards to help with the transport of the

“product” from point A to point B, and told Edwards that he would be paid for his services. According
                                                  2
                                                                                    1036425\307964227.v1
Case 1:20-cr-20266-PCH Document 85 Entered on FLSD Docket 04/28/2021 Page 3 of 4


to the CS, he had to move the “product” from Homestead to Aventura. Edwards told the CS that he

knew that what the CS did was illegal, but that it was none of his business. Eventually, the parties

agreed that the cocaine escort would take place on Wednesday, September 16, 2020. During this

meeting, Edwards was also paid $5,000 in cash for his role in the cocaine escort. While the exact

amount of cocaine to be transported was not specified, the Defendant and Edwards understood that it

would be at least 500 grams of cocaine, but not more than two kilograms of cocaine.

       On September 16, 2020, the CS and UC (in one car) met with the Defendant and Edwards in

a parking lot located in Homestead, Florida. The Defendant was in one car, and Edwards was in a

different car. The group left the parking lot and drove to a hotel in Homestead to pick up the supposed

cocaine. During that drive, Edwards drove immediately in front of the CS’s car, and the Defendant

drove immediately behind. At the hotel, an undercover officer (UC2) was waiting inside with a

suitcase containing sham cocaine. Upon arrival at the hotel, Edwards and the CS entered through the

main lobby of the hotel and walked towards the lounge area where UC2 was waiting. The CS made

contact with UC2 and took a seat at the same table. EDWARDS took a seat at the adjacent table. The

CS then asked UC2 if the “white girls” were there, referring to the suitcase. UC2 acknowledged that

they were. The CS then got up from the table, took possession of the suit case, and walked out of the

hotel. Edwards got up as the CS took possession of the suit case and followed the CS out of the hotel.

The CS opened the trunk compartment of the CS’s vehicle and placed the suit case inside the trunk

as Edwards stood next to the CS.

       The UC then texted the Defendant the address of the drop off, and the Defendant began to

drive towards Aventura, Florida. The CS’s vehicle followed, escorted by Edwards in the rear, and

the Defendant immediately to the front. The three vehicles then traveled on the Florida Turnpike

towards the North, and eventually arrived in Aventura. During that trip, the cars driven by Edwards

and the Defendant were immediately in front of and behind the CS’s vehicle almost the entire way,

in order to serve as an escort for the cocaine. Upon arrival at the hotel in Aventura, the Defendant
                                                  3
                                                                                    1036425\307964227.v1
Case 1:20-cr-20266-PCH Document 85 Entered on FLSD Docket 04/28/2021 Page 4 of 4




     4/23/21
